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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
Miami Division

Case Number: 18-cv-22815-CIV-MORENO
MICHAEL CRUZ,

Plaintiff,

VS.

ALLIED INTERSTATE, LLC,

Defendant.
/

 

FINAL ORDER OF DISMISSAL AND
ORDER DENYING ALL PENDING MOTIONS AS MOOT

THIS CAUSE came before the Court upon Notice of Settlement (D.E. 15), filed on
November 6, 2018. lt is

ADJUDGED that in light of the parties settling this action, this case is DISMISSED in
accordance with the settlement agreement The Court shall retain jurisdiction for six months to

enforce the terms of the settlement agreement lt is also

ADJUDGED that all pending motions are DENIED as moot.

/J/

DONE AND ORDERED in Chambers at Miami, Florida, this § of November
2018.

     
 

FEDERIC .
UNITED ES DISTRICT JUDGE
Copies furnished to:

Counsel of Record

